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                           EXHIBIT 1
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        PROCEDURES FOR AOL PRELIMINARY-INJUNCTION CLASS MEMBERSHIP SCREENINGS FOR
      INDIVIDUALS WHO RECEIVED A NEGATIVE CREDIBLE FEAR DETERMINATION WHERE THE THIRD
     COUNTRY TRANSIT BAR WAS APPLIED AND THEY WERE REMOVED PURSUANT TO AN EXPEDITED
                                     REMOVAL ORDER

      1) Receive request for an AOL preliminary-injunction (PI) class membership determination
            a. Individuals who received a negative credible fear (CF) determination, where the Third
                Country Transit Rule was applied, and who were removed from the United States
                pursuant to an Expedited Removal order may request an AOL PI class membership
                determination (on their own or through counsel) via email.
            b. HQASM personnel will monitor the inbox, review Global and other systems as needed
                (e.g., CIS), and assign requests to the asylum office that originally completed the
                negative CF determination. Local offices are required to enter and track the cases they
                receive from HQASM on the AOL Class Membership Screening SharePoint page.
            c. A request should include:
                        • Information to identify the individual and their immigration records such as:
                              o The individual’s complete name and any other names they have used in
                                   their immigration history.
                              o The individual’s date of birth and any other dates of birth they have
                                   used in their immigration history.
                              o The individual’s country of birth.
                        • A number, if known.
                        • G-28, if applicable.
                        • Preferred mailing address.
                        • Any available evidence of class membership that the individual would like USCIS
                          to consider such as:
                              o Evidence of the individual’s stay in Mexico during the relevant time
                                   period.
                              o Any available documentary evidence that the individual put their name
                                   on a waitlist, if they did.
                              o A detailed statement from the individual or a witness regarding their
                                   attempt(s) to gain entry to the U.S. for the purpose of applying for
                                   asylum.
                     • The password used for encryption of any documents.
      2) Request A file
            a. Local offices must request the A file for each noncitizen upon receipt of the request
                from HQASM.
      3) AO makes class membership determination
            a. After receipt of the A file, the case is assigned to an asylum officer to evaluate the
                evidence submitted and make a class membership determination. The AO should
                review the A file and evidence submitted by the noncitizen. The AO should also confirm,
                by reviewing the A file and the CF case information in Global: (1) that the Third Country
                Transit Bar was previously applied to the noncitizen at the CF stage; and (2) that the
                noncitizen received a negative CF determination. Because these individuals have been
                removed from the U.S., the AO will not conduct an interview. AOs should therefore
                check the A file, and EARM and DOJ-EOIR records in PCQS to verify (1) whether the
                individual was in fact removed under a final ER order after receiving a negative CF


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                     determination due to application of the Third Country Transit bar, and (2) whether the
                     individual has had subsequent encounter(s) indicating a return to the U.S.
                  b. If the individual has had subsequent encounters, determine if they have already
                     received an AOL PI class membership screening conducted on or after December 20,
                     2020.
                  c. If (i) the individual has not already received an AOL PI class membership screening
                     conducted on or after December 20, 2020, (ii) the Third Country Transit Rule was
                     applied to the individual at the CF stage and the individual was removed under a final ER
                     order following that determination, and (iii) the individual is not currently in the United
                     States, the asylum officer must:
                           1. Review the guidance document entitled, “Guidance for Determining Provisional
                               Subclass Membership for Purposes of the Preliminary Injunction in Al Otro Lado
                               v. Wolf” (“CBP AOL Guidance”).
                           2. Create a memo to file 1 documenting the following:
                                    a. Note whether the individual’s name seems to appear on one of the
                                        following waitlists or other lists that may indicate an individual’s
                                        presence in a Mexican border town, and indicate which list the name
                                        appears on (Calexico/Mexicali; El Paso/Ciudad Juarez; San
                                        Ysidro/Tijuana; or Presidio/Ojinaga). These lists do not contain A
                                        numbers; search by name and date of birth (if DOB is listed). Note in the
                                        memo to file if there are any discrepancies between the individual’s
                                        name, DOB, and other identifying information in DHS records, and their
                                        name, DOB, and other identifying information on a list. The lists are
                                        contained in multiple separate files 2 :
                                               i. San Ysidro/Tijuana
                                                      1. “Waitlist transcribed Tijuana Mexicali (March – July
                                                          2019) for DOJ”, four tabs labeled as “TJ” with date
                                                          ranges
                                              ii. El Paso/Ciudad Juarez
                                                      1. “Juarez Lista de Solicitantes de asilo thru 7.15.19”
                                             iii. Calexico/Mexicali



   1 See attached “Memo to File - Al Otro Lado Preliminary-Injunction Class Membership Screening”.
   2 Class Counsel has provided what they state are three waitlists from the Mexican border towns from March through July 15,
   2019: “Waitlist transcribed Tijuana Mexicali (March – July 2019) for DOJ” and “Juarez Lista de Solicitantes de asilo thru 7.15.19”.
   Additionally, CBP has located the following additional lists in its possession that may be waitlists or other lists that may indicate
   an individual’s presence in Mexico during a particular time frame: (1) between November 2018 and January 2019, Mexico’s
   federal immigration agency (“INAMI”) provided CBP OFO four separate pieces of the waitlist from Mexicali (“Lista nombres
   CBP1”, “Listado Nombres CBP2”, “Listado CBP Nombres3”, and “Listado CBP Nombres4”), which contain lists of names
   corresponding to what appear to be Mexicali waitlist numbers 1258 through 1761; and (2) the Acting Port Director of the
   Presidio, TX POE received a list of individuals from INAMI in 2019, which appears to be a partial/excerpted list of predominantly
   Cuban nationals present in the city of Ojinaga, Mexico, and for which the dates (“fechas”) in the left-hand column appear to
   correspond to dates in 2019. As explained in the “Guidance for Determining Provisional Subclass Membership for Purposes of
   the Preliminary Injunction in Al Otro Lado v. Wolf” (“CBP AOL Guidance”), the waitlists are not created or relied upon in any way
   by CBP in its metering process. These lists may not be reliable, accurate, or comprehensive lists of those who were waiting to
   enter the United States through a port of entry at any given time. The government is merely using these waitlists as potentially
   indicating that the individual sought to enter at a U.S. port of entry before July 16, 2019. The waitlists do not contain A
   numbers, and some do not contain dates of birth or dates the names were added to the waitlist; names may also be misspelled
   on the waitlists.

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                                                      1. “Waitlist transcribed Tijuana Mexicali (March – July
                                                           2019) for DOJ”, tab labeled as “Mexicali” with a date
                                                           range
                                                      2. “Lista nombres CBP1”
                                                      3. “Listado Nombres CBP2”
                                                      4. “Listado CBP Nombres3"
                                                      5. “Listado CBP Nombres4”
                                                               a. Items (b) – (e) were provided to CBP by INAMI
                                                                   in three separate communications on 11/30/18,
                                                                   1/19/19, and 1/29/19.
                                             iv. Presidio, TX
                                                      1. “Predidio POE Scan”
                                                               a. This list was provided to CBP in 2019, but the
                                                                   document itself does not have a date range
                                                                   associated with it.
                                      b. Note whether the individual appears on the updated CBP OFO list as an
                                         individual who was flagged in OFO’s electronic system of record of
                                         having affirmatively claimed to be a class member upon encounter. 3
                                               i. An individual’s inclusion on this list means only that the
                                                  individual was flagged in OFO’s electronic system of record as
                                                  an individual who affirmatively claimed to be a class member
                                                  upon encounter. This flag is not a determination that the
                                                  individual necessarily is a class member.
                                              ii. Any questions about discrepancies between information on the
                                                  CBP OFO list and DHS records or other evidence should be
                                                  raised to Asylum Ops APSO <AsylumOpsAPSO@uscis.dhs.gov>
                                                  and Asylum QA APSO <AsylumQAAPSO@uscis.dhs.gov>.
                                      c. Note whether an individual’s I-213 includes an annotation “POTENTIAL
                                         AOL CLASS MEMBER” (for I-213s from U.S. Border Patrol) or “Potential
                                         AOL Class Member” (for I-213s from OFO).
                                               i. This annotation means that the individual was noted by Border
                                                  Patrol or OFO as an individual who affirmatively claimed to be a
                                                  class member upon encounter of apprehension. This
                                                  annotation is not evidence that the individual necessarily is a
                                                  class member.
                                              ii. Any questions about discrepancies between an annotation on a
                                                  CBP I-213 and DHS records or other evidence should be raised
                                                  to Asylum Ops APSO <AsylumOpsAPSO@uscis.dhs.gov> and
                                                  Asylum QA APSO <AsylumQAAPSO@uscis.dhs.gov>.
                                      d. Note whether the I-213, I-867A/B (sworn statement), I-877 (sworn
                                         statement), or any other processing documents contain affirmative
                                         indications of class membership or evidence that would tend to negate
                                         class membership.




   3   See Excel file titled, “Copy of 2020-11-05_APP_AOL_Preliminary_Injunction_Guidance v1”.


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                 3. The asylum officer must determine if the individual has established he or she is
                    more likely than not an AOL class member, based on the CBP AOL Guidance and
                    the below:
                        a. The burden is on the individual to establish class membership. See the
                            CBP AOL Guidance document for the relevant class definition.
                        b. The standard of proof for establishing class membership is “more likely
                            than not.” That is, the individual need establish that it is more likely
                            than not that he or she is a class member.
                        c. Documentary evidence of class membership is not required to satisfy
                            this standard.
                        d. Evidence of class membership—including but not limited to,
                            documentation of a stay in a shelter or hotel in a Mexican border
                            town/city during the relevant pre-July 16, 2019 time period;
                            documentation regarding the placement of a name on a waitlist during
                            the relevant pre-July 16, 2019 time period; and declarations, affidavits,
                            or the individual’s own statements regarding whether they may have
                            been subject to metering during the relevant pre-July 16, 2019 time
                            period—will generally be sufficient to establish that an individual is
                            more likely than not a class member in the absence of contradictory
                            evidence in DHS records or the individual’s current statement or prior
                            testimony.
                        e. The waitlists provided to DOJ by class counsel, as well as the portions of
                            waitlists and other lists indicating presence in a Mexican border town
                            provided by INAMI or other entities to CBP OFO, may be evidence of
                            class membership in that the presence of the individual’s name on one
                            of the lists may indicate that the individual was at or near the Mexican
                            border near the San Ysidro, El Paso, Calexico, or Presidio ports of entry,
                            as applicable, and made efforts before July 16, 2019, to enter the
                            United States at that port of entry. (The Presidio list appears to have
                            entries ranging from April 2019 through October 2019, with gaps.)
                            However, if an individual’s name is included on one of these waitlists,
                            but the individual’s own statements (during the current AOL P-I class
                            member screening interview, prior credible fear interview, prior AOL
                            class member screening interview, or sworn statements) clearly and
                            unequivocally contradict that information—for example, if the
                            individual clearly states and affirms that they did not leave their home
                            country or arrive in Mexico before July 16, 2019—the individual’s own
                            statements may be given greater weight than the existence of a name
                            on the waitlist.
                        f. The absence of an individual’s name on a waitlist should not be used to
                            conclude that the individual is not a class member where there is other
                            credible evidence of class membership, including but not limited to the
                            individual’s own testimony. First, DHS only has partial transcriptions of
                            waitlists or other partial lists that may indicate an individual’s presence
                            in Mexico during a particular time frame, and that correspond to only
                            four ports of entry: Calexico/Mexicali; El Paso/Ciudad Juarez; San
                            Ysidro/Tijuana; and Presidio/Ojinaga. The Presidio/Ojinaga list is a list of
                            Cuban nationals only. An individual may have placed his or her name on

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                                one of these waitlists on a date that falls outside the date ranges
                                reflected by the lists in the government’s possession. Additionally,
                                waitlists exist in other Mexican border towns, but the U.S. government
                                does not have copies of these lists. Second, it is reported that the
                                waitlists are not always accurate or complete. Accordingly, it is possible
                                that an individual’s name was misspelled or transcribed incorrectly on
                                the waitlist, or that the individual attempted to present themselves at a
                                port of entry before July 16, 2019, but his/her name was not placed on a
                                waitlist.
                             g. Asylum officers can consider an individual’s statements from prior
                                screening interviews as relevant evidence to be considered when
                                determining whether the individual is more likely than not a class
                                member, including in assessing the individual’s credibility.

     4) Supervisory review
            a. All class membership determinations for these individuals must undergo supervisory
                review.
            b. The SAO documents the AOL class membership determination both on the AOL
                Sharepoint site and in Global. If the noncitizen is a class member, the SAO enters the
                special group code “NO BAR – AOL” and writes “AOL Screening – Removed subgroup” in
                Decision Notes. If the noncitizen is not a class member, the SAO writes “NOT AN AOL
                CLASS MEMBER (rather than “NOT METERED”) and “AOL SCREENING – Removed
                subgroup.”
     5) Notification of determination
            a. Local offices will provide notification to the noncitizen or their representative via email.
                Additionally, the asylum office must forward to the Task Force the A#s and relevant
                information in all cases where the noncitizen established class membership.
                       • If after review it is determined that the individual did not have the TCT rule
                         applied, the local office should send the following response to the noncitizen:
                         “An asylum officer reviewed your information and determined you are not
                         entitled to a remedy under the terms of the PI. Al Otro Lado v. Mayorkas is a
                         lawsuit that relates to the U.S. government’s use of “metering” at land ports of
                         entry on the U.S. Mexico border. The Court in this lawsuit issued a Preliminary
                         Injunction (PI) prohibiting the U.S. government from applying a rule known as
                         the “third country transit rule” to certain people who were subject to metering
                         before the rule took effect on July 16, 2019. The third country rule was not
                         applied to you”.
                       • If after review it is determined that the individual was not subjected to ER due
                         to a negative CF determination, the local office should send the following
                         response: “An asylum officer reviewed your information and determined you
                         did not receive a negative credible fear determination and were not removed
                         subject to an expedited removal order. USCIS does not have jurisdiction over
                         your case ”.
                       • If after review it is determined that the individual is in the United States, the
                         local office should determine if an interview screening needs to be scheduled
                         following the procedures for non-detained individuals. The local office should
                         send an interview notice. If it is determined the individual was screened after
                         December 20, 2020 and did not establish class membership, the local office

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                       should send the following response: “An asylum officer reviewed your
                       information. You were screened on [date] and determined to not be an AOL PI
                       class member.”
                     • If class membership is established, the local office should send the following
                       response to the noncitizen: “An asylum officer reviewed your information and
                       determined that you are a member of the Al Otro Lado v. Mayorkas provisional
                       class. As such, you may be eligible to return to the United States to seek
                       asylum. The Third Country Transit bar will not be applied to your case.” The
                       message response must also attach the separate instructions for further
                       processing, including how to file a Form I-131 at the lockbox. The message
                       response should also attach the “AOL Preliminary-Injunction Class Membership
                       Determination” form to the email using encryption. A separate message
                       containing the password must be sent.
                     • If class membership is not established, the local office should send the following
                       response to the noncitizen: “An asylum officer reviewed your information and
                       determined that you are not a member of the Al Otro Lado v. Mayorkas
                       provisional class”. A checklist template of the elements of class membership will
                       be created and asylum officers will check off what the noncitizen did not
                       establish. The message response should attach the “AOL Preliminary-Injunction
                       Class Membership Determination” form to the email using encryption. A
                       separate message containing the password must be sent.
     6) Review of Determinations
            a. Requests for review will be handled on a case-by-case basis and may be granted if
               within 30 days of issuance of the Class Membership Determination, the noncitizen
               submits additional evidence of class membership or can show that the determination
               that they were not a class member was incorrect based on the evidence submitted.
            b. Noncitizens who have been removed may submit only one request for a class
               membership determination.




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